Case 1:22-cv-05535-NRM-MMH Document 23-5 Filed 01/23/23 Page 1 of 2 PageID #: 204




                     EXHIBIT 3
    Case 1:22-cv-05535-NRM-MMH Document 23-5 Filed 01/23/23 Page 2 of 2 PageID #: 205




January 4, 2022

                                                                                    1000 Gates Avenue Suite 5B
                                                                                        Brooklyn, NY 11221
Benzor Shem Vidal                                                                        (T) 718 305 6700
33 Ross Way, London                                                                      (F) 718 305 6824
                                                                                   www.advancedcarestaffing.com
United Kingdom E14 7GG                                                              We take staffing close to heart.




Re: Your Employment Agreement with Advanced Care Staffing

Dear Benzor Shem Vidal:

I am pleased to present you with our latest version of our Employment Agreement (enclosed)! This latest
version was developed after consulting industry best practices and feedback from our team members.

The following are two key differences between your old agreement and this new version:

   •   Greater Clarity. This new version presents the parties’ expectations, obligations, and rights in clearer
       terms to promote greater transparency and fairness. For example, the new agreement makes clear that
       nursing assignments in the US will be in skilled nursing facilities / nursing homes and lists the various
       types of costs that ACS will advance or reimburse.

   •   No “Liquidated Damages” or Promissory Note. The older version specified a sum of money to be paid
       in the event of a breach and included a promissory note. We received feedback that this was viewed as
       a “buy out”, which was never our intention. We have tried to be clear from the beginning that ACS is
       making a significant investment in our nurses, and we only agree to sponsor nurses who are committed
       to providing services to ACS for a three-year term in the United States. This new version eliminates a
       specified sum of damages and allows for recovery of whatever damages are proven (which might be
       higher or lower than the amount specified in the older version). Attached to this letter is a separate letter
       waiving/cancelling any promissory note that you might have signed.

If you have any questions before signing, please contact me as soon as possible at ACS phone 718.305.6700 or
through this email address liz@advancedcarestaffing.com. If you have no questions, please return a signed
copy of the new Employment Agreement to me via email.

Sincerely,

Sam Klein
CEO




                                             Advanced Care Staffing, LLC.
                                           has earned The Joint Commission’s
                                                 Gold Seal of Approval
